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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

DINO J. KALANDRAS, *
oe
Piaintiff, *
* Civil Action No. WMN-i2-2577
*
*
MURPHY, BIRD & PHILLIPS, INC., *
1
Defendant. *
He x % m R * * *e a * * *

AFFIDAVIT OF KEVIN WEBER

I, KEVIN WEBER. do hereby swear and affirm as follows:

1. lam over the age of 18 years, and Iam competent to testify based upon my
personal knowledge as to. the matters stated herein.

2. lam an Area Engineer for the Maryland Transportation Authority, where I have
been employed for thirty-three (33) years.

3. [ was responsible for overseeing the work on the Chesapeake Bay Bridge Repair
Project under Contract No. MA 2340-000-002.

4. Under Contract No. MA 2340-000-002, the Maryland Transportation Authority
contracted with Murphy, Bird & Phillips, Inc. to provide labor, equipment, and materials
necessary to perform structural repairs, upgrades, replacements, and new construction to bridges,
tannels, highways, buildings, and other land-based. appurtenances ofthe Maryland
Transportation Authority's facilities,

5. No section of Contract No. MA 2340-000-002 required the use of a safety boat on

any particular part of the project governed by the Contract. The decision to use a safety boat was

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made solely by Murphy, Bird & Phillips, Inc. and/or its subcontractor, Brawner Builders, Inc.,
based on their policies and any applicable OSHA regulations.

6. Sections 400,01.01(4) and 400.01.01(5) of Contract No. MA 2340-000-002
provides a list of possible labor categories that may be used under the contract to perform the
work of the contract. Included in the list of possible labor categories that may be used is “Boat
Captain” and “Deck Hand”. Murphy, Bird & Phillips, Ine. may decide to use either, or
subcontract for the use of either.

7. Under Sections 400:01.01(4) and 400:01.01(5) of Contract No. MA 2340-000-
002, the Maryland Transportation Authority did not mandate that Murphy, Bird & Phillips, Inc.
provide a “Boat Captain” or “Deck Hand”,

8. The billing and use of a “Boat Captain” or safety boat was an incidental part of
the overall Contract between Murphy, Bird & Phillips and the Maryland Transportation
Authority, and only accounted for a small fraction of all revenues paid to Murphy, Bird &
Phillips under this Contract.

1DO SOLEMNLY DECLARE AND AFFIRM under the penalties of perjury that the
contents of the foregoing Affidavit are true and are based on my personal knowledge,
information and belief:

Executed this 2A Nay of September, 2012.

Choasow LAs

Kevin Weber

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